Case 1:22-cv-00904-RGA-SRF Document 290 Filed 09/27/24 Page 1 of 1 PageID #: 36381




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


  ACCELERATION BAY, LLC,                       :
                                               :
                Plaintiff,                     :
                                               :
                v.                             :      Civil Action No. 22-904-RGA
                                               :
  AMAZON WEB SERVICES, INC.,                   :
                                               :
                Defendant.                     :



                                        TRIAL VERDICT
         The jury having deliberated on the claims and affirmative defense asserted at trial, and

  the jury having reached a verdict, judgment is entered for Acceleration Bay, LLC, and against

  Amazon Web Services, Inc., in the amount of $30,500,000.00.
                                27 day of September 2024.
         IT IS SO ORDERED this ___


                                                       /s/ Richard G. Andrews
                                                      _________________________
                                                      United States District Judge
